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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                          §
                                                       §
       Plaintiffs,                                     §
                                                       §
v.                                                     § Civil Action No. 1:17-cv-00365-LY
                                                       §
GRANDE COMMUNICATIONS                                  §
NETWORKS LLC and PATRIOT MEDIA                         §
CONSULTING, LLC.,                                      §
                                                       §
       Defendants.                                     §
                                                       §


     PLAINTIFFS’ OPPOSITION TO DEFENDANT GRANDE COMMUNICATIONS
       NETWORKS LLC’s MOTION TO STRIKE REBUTTAL EXPERT REPORT

                                         INTRODUCTION

        Grande’s motion to strike Barbara Frederiksen-Cross’s rebuttal report is the latest salvo in

 Grande’s campaign to avoid having this Court decide the case on the merits. Grande’s argument

 that Plaintiffs were not authorized to serve the report is demonstrably false:           this Court’s

 Scheduling Order expressly provided for Plaintiffs to file rebuttal expert reports, as did the parties’

 written agreements extending the discovery and expert deadlines. Grande’s attempt to portray two

 clarifications in Frederiksen-Cross’s rebuttal report as new opinions also fails. The two minor

 changes—to account for information from a subsequent deposition and to correct a scrivener’s

 error—were proper supplements in accordance with her obligations under Rule 26(e)(2). Lastly,

 Grande inexplicably claims to have been “sandbag[ed]” by certain evidence in Frederiksen-Cross’s

 report, but that evidence was (1) produced by Plaintiffs, (2) identified by Plaintiffs in interrogatory

 responses, and (3) referenced by Grande’s own expert.




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       As explained in more detail below, Grande offers the Court no basis to strike Frederiksen-

Cross’s rebuttal report. Grande’s ongoing efforts to distract the Court from the core issues of the

case should be rejected. The motion should be denied.

                                           ARGUMENT

       THIS COURT’S SCHEDULING ORDER, FEDERAL RULE 26, AND APPLICABLE CASE LAW
       ALL EXPRESSLY CONTEMPLATE REBUTTAL EXPERT REPORTS, SUCH AS FREDERIKSEN-
       CROSS’S.

       As the Court is aware, the Scheduling Order in this case [Dkt. 66] provides for (1)

affirmative expert reports, (2) opposition expert reports, and (3) rebuttal expert reports:

       All parties asserting claims for relief shall file and serve on all other parties their
       designation of potential witnesses, testifying experts, and proposed exhibits, and
       shall serve on all other parties, but not file, the materials required by Federal Rule
       of Civil Procedure 26(a)(2)(B) on or before March 23, 2018. Parties resisting claims
       for relief shall file and serve on all other parties their designations of potential
       witnesses, testifying experts, and proposed exhibits, and shall serve on all other
       parties, but not file, the materials required by Federal Rule of Civil Procedure
       26(a)(2)(B) on or before May 7, 2018. All designations of rebuttal experts shall
       be filed and served on all other parties not later than 30 days of receipt of the
       report of the opposing expert, and the materials required by Federal Rule of Civil
       Procedure 26(a)(2)(B) for such rebuttal experts, to the extent not already served,
       shall be served, but not filed, on all other parties not later than 30 days of receipt of
       the report of the opposing expert.”

Scheduling Order [Dkt. 66] ¶ 2 (emphasis added). See also Fed. R. Civ. P. 26(a)(2)(D) (providing

for rebuttal reports “intended solely to contradict or rebut evidence on the same subject matter

identified by another party….”). Thus, the plain text of the Scheduling Order alone is sufficient

to defeat Grande’s motion.




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       In addition, when the parties agreed to extend various discovery deadlines, they expressly

included a deadline for Plaintiffs’ rebuttal reports.




See Ex. A, March 19, 2018 Email Correspondence (highlighting added).1 There is simply no

dispute that the Court’s schedule authorized the Frederiksen-Cross rebuttal report, as the parties

both recognized.

       Given these unavoidable facts, Grande resorts to mischaracterizing Frederiksen-Cross’s

report as a “sur-rebuttal.” This portrayal is incorrect; her report is a proper rebuttal report. “A

rebuttal expert report contradicts or rebuts evidence on the same subject matter identified by

another party’s expert.” Bd. of Regents v. KST Elec., Ltd., No. A-06-CA-950-LY, 2007 WL

4790801, at *1 (W.D. Tex. Oct. 9, 2007) (Yeakel, J.). That is exactly what Frederiksen-Cross’s

rebuttal report does: it contradicts and rebuts the opinions expressed by Grande’s expert, Geoff

Cohen. Grande’s motion makes no effort to describe how Frederiksen-Cross’s report deviates

from this proper sequence and should therefore be considered a “sur-rebuttal.” Instead, Grande

points to an opinion from Magistrate Judge Pitman in an unrelated case, Wal-Mart Stores, Inc. v.

Tex. Alcoholic Beverage Comm’n, No. 1:15-cv-134-RP, 2017 WL 9480314 (W.D. Tex. May 22,

2017), but that case actually highlights Grande’s misreading of the order in this case. Judge

Pitman’s scheduling order in Wal-Mart, which Grande does not reference, expressly provided for



1
 The parties further agreed to postpone these deadlines in various other communications, which
ultimately led to a due date of August 31, 2018 for Plaintiffs’ rebuttal report to Grande’s software
expert on the Rightscorp code.

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two rounds of reports (unlike the three rounds provided for in the instant case), and referred to the

second (and final) of the two as “rebuttal” reports.2 Thus, because Judge Pitman’s order used the

term “rebuttal” differently, and did not provide for the third round of expert reports contemplated

by this Court’s order, that decision has no bearing here.

       The remainder of the cases cited by Grande are equally unavailing. The district court in

Bowman v. Int’l Bus. Mach. Corp. actually held that it was reversible error for the magistrate judge

to strike a report’s proper rebuttal opinions (as opposed to improper new opinions), and only

upheld the exclusion of this otherwise proper rebuttal evidence because it was untimely by 40

days. No. 1:11-CV-0593-RLY-TAB, 2013 WL 1857192, at *8 (S.D. Ind. May 2, 2013). The court

in In re High-Tech Employee Antitrust Litig. did not permit the rebuttal report because the

proffering expert had previously filed four other reports, each of which post-dated the opinion

supposedly being rebutted in the fifth report. No. 11-CV-02509-LHK, 2014 WL 1351040, at *9

(N.D. Cal. Apr. 4, 2014). D.G. ex rel. G. v. Henry did not even deal with rebuttal reports from

existing experts; instead, the court held that the plaintiff could not add two new experts whose

plain purpose was to bolster the opinions of the plaintiff’s existing expert. No. 08-CV-74-GKF-

FHM, 2011 WL 2881461, at *1 (N.D. Okla. July 15, 2011). The same is true of Oracle Am., Inc.

v. Google Inc., where the court ruled that “Rule 26 does not bless Oracle’s introduction of a brand-

new expert by way of a reply to an opposition on an issue on which it bears the burden of proof….”

No. C 10-03561 WHA, 2011 WL 5572835, at *4 (N.D. Cal. Nov. 15, 2011) (emphasis in original).

Notably, Grande fails to inform the court that neither Google nor the court in Oracle took any issue



2
  “TPSA shall file its designation of testifying experts and serve on all parties, but not file, the
materials required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before December 16, 2016.
Wal-Mart shall file all designations of rebuttal experts to TPSA’s experts and serve on all parties
the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to
the extent not already served, on or before January 6, 2017.” No. 1:15-cv-134-RP, Dkt 151.

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with Oracle’s existing expert providing a reply report that rebutted the opinion of Google’s expert,

as Frederiksen-Cross has done here.

       FREDERIKSEN-CROSS’S MINOR UPDATES TO HER PRIMARY OPINIONS ARE PROPER—
       IN FACT MANDATORY—UNDER RULE 26(E)(2).

       Grande wrongly claims that Frederiksen-Cross’s rebuttal report somehow seeks a “do-

over” of her initial report, Mot. at 9, because she corrects a scrivener’s error in her initial report

and accounts for information that emerged in a deposition that occurred after she served her initial

report. Grande’s argument has no merit.

       As Frederiksen-Cross’s original report and exhibits explained, portions of the Rightscorp

system obtain sample files from the swarm (“SampleIt3”) and from individual users (“SampleIt2”).

B. Frederiksen-Cross Expert Report [Dkt. 177-1] ¶¶ 60-64. Frederiksen-Cross’s original report

correctly identified the function of each component but, as her rebuttal report notes, her original

report incorrectly included a reference to “SampleIt3” that should have read “SampleIt2.”

Updating such a harmless typographical error is entirely proper: it is consistent with the purpose,

and mandate, of Rule 26(e); it is a correction she would otherwise make at trial; and Grande is not

prejudiced in any way. See Fed. R. Civ. P. 26(e)(2). Similarly, Frederiksen-Cross’s clarification

in paragraph 39 of her rebuttal report [Dkt. 177-2], based on information that emerged in the

deposition of Rightscorp employee Greg Boswell, which was taken after her original report, is an

equally appropriate update under Rule 26(e)(2). See Nunn v. State Farm Mut. Auto. Ins. Co., No.

3:08-CV-1486-D, 2010 WL 2540754, at *14 (N.D. Tex. June 22, 2010) (information learned at

deposition that post-dated initial report was proper basis for supplement under Rule 26(e)).




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       Once again, Grande mischaracterizes the case law it cites.3 Grande cites United States v.

9.345 Acres of Land as follows: “([T]o the extent [opening and rebuttal opinions] are not

consistent, it suggests that the party is trying to improperly use rebuttal to modify its case in chief

and get a ‘do over.’”). Mot. at 8 (citing No. 3:11-cv-803, 2016 WL 5723665, at *4 (M.D. La. Sept.

30, 2016)). Grande inserted “[opening and rebuttal opinions]” in place of the word “they” in the

opinion. But the “they” the court referred to were two different experts. That case did not involve

an expert’s clarifying an aspect of an initial report in a rebuttal report. Rather, it dealt with a

party’s designating an affirmative expert who gave a certain opinion, and then designating a new

expert as a “rebuttal” expert who in fact gave the opposite opinion and contradicted the initial

expert. “While the text of Rule 26 does not prohibit a party’s rebuttal expert from contradicting

that party’s own case in chief expert, logically, it seems that these experts should be consistent.”

Id. The court does not even mention Rule 26(e), let alone support Grande’s contention that a

proper modification under Rule 26(e) constitutes an improper “do-over.”

       In fact, 9.345 Acres of Land actually supports Plaintiffs’ position that Frederiksen-Cross’s

rebuttal report was proper. The court stated that “[e]xperts are typically allowed to introduce new

methods of analysis in a rebuttal report so long as the new method is offered to contradict or rebut

the opposing party’s case in chief expert.” Id. at *3.4 Here, of course, Frederiksen-Cross’s rebuttal


3
 This selective citation is only the latest in what Plaintiffs feel compelled to note is a pattern of
misleading legal citations in Grande’s briefs. See, e.g., Dkt. 143, p. 10 (citing reversed district
court holding in Perfect 10, Inc. v. CCBill, LLC, 340 F. Supp. 2d 1077, 1088-89 (C.D. Cal. 2004)
without informing court of reversal on the cited issue); Dkt. 156, p. 8 (citing dissent in unpublished
Fifth Circuit case as if the dissent were the holding).
4
  In this respect, 9.345 Acres of Land demonstrates that there is no basis for Grande’s argument
that Frederiksen-Cross improperly cites additional evidence regarding Rightscorp’s and RIAA’s
verification of the infringed works. Mot. at 6-7. Even if it were “new” evidence, which it is not,
see infra section III, Frederiksen-Cross’s rebuttal report expressly responds to Cohen’s criticisms
and thus is proper rebuttal opinion testimony. See Frederiksen-Cross Rebuttal Report [Dkt. 177-
2] ¶ 21 (“Dr. Cohen also opines that Rightscorp does not verify the songs it monitors with an actual

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report does far less than that—it merely makes minor revisions. Regardless, Grande also fails to

note that the court in 9.345 Acres of Land refused to exclude the new rebuttal expert because trial

was months away, and instead found that the “proper remedy is to allow a sur-rebuttal.” Id. at *5.

Thus, this case actually (1) has no bearing on updating an existing expert, (2) rejects exclusion as

the proper remedy months before trial, and (3) demonstrates the actual meaning of a “sur-rebuttal”

report, which is contrary to Grande’s proffered meaning. Id. at *12.

       GRANDE’S CONTENTION THAT THE 59,000 SAMPLE FILES OBTAINED BY RIGHTSCORP
       FROM GRANDE SUBSCRIBERS ARE “NEW EVIDENCE” IS FALSE, AS PLAINTIFFS
       IDENTIFIED THESE FILES IN WRITTEN DISCOVERY RESPONSES, AND GRANDE’S OWN
       EXPERT DISCUSSED THEM IN HIS REPORT.

       On April 27, 2018, Plaintiffs produced a hard drive to Grande with more than 59,000

sample files of copyrighted works obtained by Rightscorp from Grande users. While Grande

acknowledges that the “[t]he music files were produced with bates numbers RC-D_01350636-

01410446,” Grande claims that these files were “not identified in Plaintiffs’ interrogatory

answers….” Mot. at 10, fn. 9. This allegation is flatly untrue, as Grande must know. Plaintiffs

described this evidence in response to Grande’s Interrogatory 20: “In accordance with Federal

Rule of Civil Procedure 33(d), Plaintiffs direct Defendants to the evidence that Rightscorp

collected regarding Grande’s subscribers’ online infringement of Plaintiffs’ copyrighted sound

recordings, which has been produced at Bates RC-D_00000001 through RC-D_01350635 (notices

sent to Grande), [and] RC-D_01350636 - RC-D_01410446 (sample files of sound recordings that

infringing Grande subscribers shared with Rightscorp, which Rightscorp then provided to

Plaintiffs and RIAA)….” Pls.’ Resp. to Grande Interrog. No. 20 [Dkt. 173-25] (emphasis added).



sample of the copyrighted work. (Cohen Report ¶ 25.) To the extent he implies the songs at issue
in this matter have not been verified, or not sufficiently verified, he is incorrect.”).



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       Notably, Grande’s professed ignorance of these files also cannot be squared with the fact

that Grande’s own expert expressly relied on them. “I have limited the ‘infringement’ counts that

form the basis of my calculations to those specific instances of works being made available for

download by Rightscorp as reflected in the hard drive produced by RIAA.61” Expert Report of

Jonathan Kemmerer [Dkt. 144-6] ¶ 51. Footnote 61 in Grande’s expert’s report expressly

references “RC-D_01350636 to RC-D_01410446.” Id. at fn. 61.

       Finally, Grande claims that Plaintiffs did not produce the data showing that the RIAA

matched the audio files Rightscorp downloaded from Grande subscribers to Plaintiffs’ copyrighted

sound recordings. Mot. at 9-10. Again, however, Grande’s claim is belied by the facts. Plaintiffs

produced the files and data reflecting the matches, and identified them in writing to Grande:

“Plaintiffs, RIAA, and Rightscorp have produced or will be producing responsive, non-privileged

documents, namely, … downloads of works infringed by Grande customers, [and] the files and

data indicating a match between the downloaded works and Plaintiffs’ Copyrighted Sound

Recordings that are the works in suit.” May 9-10, 2018 Correspondence, p. 2 [Dkt. 172-34]

(emphasis added).5

       In short, Grande’s claim of being “sandbagg[ed]” by this evidence, Mot. at 10, is simply

not credible.

                                        CONCLUSION

       Plaintiffs respectfully request that the Court deny Grande’s motion.




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  Moreover, Plaintiffs cited this interrogatory response and correspondence in their Opposition and
Cross-Motion for Summary Judgment, which Plaintiffs filed three days before Grande filed the
instant motion. Dkt. 172 at 13 fn. 7, 17 fn. 9.

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Dated: September 21, 2018          Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 21, 2018 all counsel of record who are deemed
to have consented to electronic service are being served with a copy of this document via the
Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                            /s/ Daniel C. Bitting
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